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                               UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


JIMMY (BILLY) McCLENDON, et al.,

                Plaintiffs,

vs.                                                                          CIV 95-24 JB/KBM

CITY OF ALBUQUERQUE, et al.,

                Defendants,

vs.

E.M., R.L., W.A., D.J., P.S., and
N.W. on behalf of themselves and
all other similarly situated,

                Plaintiff-Intervenors.

 UNOPPOSED MOTION FOR DEFENDANTS TO FILE SURREPLY TO PLAINTIFF
  AND PLAINTIFF-INTERVENORS’ JOINT MOTION FOR ENFORCEMENT OF
CHECK-OUT AUDIT AGREEMENT NO. 1 AND FOR FURTHER REMEDIAL RELIEF

          Defendant, the Bernalillo County Board of County Commissioners (hereinafter “County

Defendants”), by and through its attorneys, Robles, Rael & Anaya, P.C. (Taylor S. Rahn), state

the following for their Unopposed Motion to File Surreply to Plaintiff and Plaintiff-Intervenors’

Joint Motion for Enforcement of Check-Out Audit Agreement No. 1 and for Further Remedial

Relief:

          1.    On September 27, 2021, Plaintiff and Plaintiff-Intervenors filed their Joint Motion

for Enforcement of Check-Out Audit Agreement No. 1 and for Further Remedial Relief.

          2.    On November 5, 2021, County Defendants filed their Response to Plaintiffs’

Motion for Enforcement of Check-Out Audit Agreement No. 1 and for Further Remedial Relief.
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         3.    On December 21, 2021, Plaintiffs filed their Reply in Support of their Joint Motion

for Enforcement of Check-Out Audit Agreement No. 1 and for Further Remedial Relief.

         4.    Plaintiffs’ Reply addressed new legal and factual issues not raised in their original

brief.

         5.    Further, Plaintiffs’ Reply brief was 40 pages along with over two hundred pages of

exhibits.

         6.    As such, County Defendants request an order allowing Defendants to file a Surreply

to Plaintiffs’ Joint Motion for Enforcement of Check-Out Audit Agreement No. 1 and for Further

Remedial Relief.

         7.    County Defendants also requested a page extension of up to 30 pages for their

Surreply.

         9.    Finally, County Defendants request the Surreply be due on January 14, 2022.

         10.   Plaintiffs have been contacted and do not oppose County Defendants’ Motion to

File a Surreply to Plaintiff and Plaintiff-Intervenors’ Joint Motion for Enforcement of Check-Out

Audit Agreement No. 1 and for Further Remedial Relief.

         WHEREFORE, Defendants respectfully request that this Court enter an Order allowing

County Defendants to file a Surreply to Plaintiff and Plaintiff-Intervenors’ Joint Motion for

Enforcement of Check-Out Audit Agreement No. 1 and for Further Remedial Relief of up to thirty

(30) pages by January 14, 2022, and for all other relief this Court deems just and proper.




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                                        Respectfully submitted,

                                        ROBLES, RAEL & ANAYA, P.C.



                                        By:      /s/ Taylor S. Rahn
                                                Taylor S. Rahn
                                                Attorney for County Defendants
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                                                (505) 242-1106 (facsimile)
                                                taylor@roblesrael.com




I hereby certify that on this 29th day of
December, 2021, the foregoing was
electronically served through the CM/ECF
system to all counsel of record.



/s/ Taylor S. Rahn
Taylor S. Rahn




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